                                                                                Case 3:13-cv-04916-WHA Document 161 Filed 05/21/15 Page 1 of 4



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                                                                          6                            IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9
                                                                         10   KAREN TAYLOR, individually and on
                                                                         11   behalf of all others similarly situated, and
United States District Court




                                                                              PAULISA FIELDS,                                             No. C 13-04916 WHA
                               For the Northern District of California




                                                                         12                  Plaintiffs,
                                                                         13          v.                                                   ORDER GRANTING FINAL
                                                                         14                                                               APPROVAL OF CLASS
                                                                              WEST MARINE PRODUCTS, INC.,                                 SETTLEMENT
                                                                         15                  Defendant.
                                                                         16                                                  /

                                                                         17                                           INTRODUCTION
                                                                         18          In this wage-and-hour class action, the parties’ joint motion for final approval of their
                                                                         19   class settlement is GRANTED.
                                                                         20                                              STATEMENT
                                                                         21          A September 2014 order granted in part plaintiffs’ motion for class certification. The
                                                                         22   order certified the following class (Dkt. No. 113 at 13):
                                                                         23                  Spiff-Miscalculation Class — All hourly-paid West Marine employees in
                                                                         24                  California who were paid for daily overtime work, and who were compensated
                                                                                             with a spiff during the workweek in which they accrued such daily overtime
                                                                         25                  work, at any time since the period of time commencing four years prior to the
                                                                                             filing of the complaint to the date hereof.
                                                                         26   The order also certified the following two classes, which are derivative of the spiff-
                                                                         27   miscalculation class (Dkt. No. 113 at 17):
                                                                         28                  Wage Statement Class — All hourly-paid West Marine employees in California,
                                                                                             who were issued wage statements and were members of the Spiff-Miscalculation
                                                                                Case 3:13-cv-04916-WHA Document 161 Filed 05/21/15 Page 2 of 4



                                                                          1                  Class during the period of time commencing three years prior to the filing of the
                                                                                             complaint to the date hereof.
                                                                          2
                                                                                             Former Employee Class — All former hourly-paid West Marine employees in
                                                                          3                  California who are members of the Spiff Miscalculation Class.
                                                                          4
                                                                              Karen Taylor was appointed class representative while Paulisa Fields is pursuing claims in her
                                                                          5
                                                                              individual capacity
                                                                          6
                                                                                     In October and November of 2014, the parties participated in three settlement
                                                                          7
                                                                              conferences with Magistrate Judge Joseph Spero. In December 2014, the parties and their
                                                                          8
                                                                              counsel signed a proposed class settlement agreement. The parties then moved for preliminary
                                                                          9
                                                                              approval of their proposed class settlement. That motion was denied. The order denying
                                                                         10
                                                                              preliminary approval concluded that the scope of the proposed release was too broad, the
                                                                         11
United States District Court




                                                                              incentive payments to the name plaintiffs were too high, and the claims process was
                               For the Northern District of California




                                                                         12
                                                                              incomprehensible from the motion (Dkt. No. 146). In a subsequent motion, the parties cured the
                                                                         13
                                                                              settlement’s deficiencies and preliminary approval was granted (Dkt. No. 148).
                                                                         14
                                                                                     On February 20, the class administrator mailed class notices to the 707 class members.
                                                                         15
                                                                              As of April 17, the class administrator had received twenty-one opt-outs (2.9% of the 707
                                                                         16
                                                                              member class). The parties also filed a joint notice that no objections had been received by May
                                                                         17
                                                                              14 (sixteen days past the April 28 deadline to object). (Harris Decl. ¶¶ 16–18; Dkt. No. 159).
                                                                         18
                                                                                     Now, the parties move jointly for final approval of the class settlement. This order
                                                                         19
                                                                              follows a hearing held on May 21. Time to make belated objections was provided, but no
                                                                         20
                                                                              objection was made.
                                                                         21
                                                                                                                        ANALYSIS
                                                                         22
                                                                                     1.      CLASS NOTICE.
                                                                         23
                                                                                     FRCP 23(e)(1) states that “the court must direct notice in a reasonable manner to all class
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                                                                              members who would be bound by the proposal.” Here, notice of the proposed class settlement
                                                                         25
                                                                              was approved by the Court and provided via first-class mail in February 2015. Twenty-one opt-
                                                                         26
                                                                              outs and no objections were received. Those who opted out of the class settlement have been
                                                                         27
                                                                              excluded from the proposed settlement. This order is satisfied with the notice provided and finds
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                                                                              that absent class members have had an opportunity to opt out.

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                                                                                Case 3:13-cv-04916-WHA Document 161 Filed 05/21/15 Page 3 of 4



                                                                          1          2.      SETTLEMENT.
                                                                          2          When vetting a class settlement, the following factors may be considered:
                                                                          3                  (1) the strength of the plaintiffs’ case; (2) the risk, expense, complexity, and likely
                                                                                             duration of further litigation; (3) the risk of maintaining class action status
                                                                          4                  throughout the trial; (4) the amount offered in settlement; (5) the extent of
                                                                                             discovery completed and the stage of the proceedings; (6) the experience and
                                                                          5                  views of counsel; (7) the presence of a governmental participant; and (8) the
                                                                                             reaction of the class members to the proposed settlement.
                                                                          6
                                                                              Churchill Village, LLC v. General Electric, 361 F.3d 566, 575 (9th Cir. 2004). This order finds
                                                                          7
                                                                              the proposed settlement fair, reasonable, and adequate.
                                                                          8
                                                                                     Terms: Prior orders walked through the terms of the settlement (Dkt. Nos. 146, 148). In
                                                                          9
                                                                              brief, the settlement is as follows: West Marine will pay a non-reversionary sum of $435,000 in
                                                                         10
                                                                              satisfaction of class-wide claims arising from any failure by defendant to include spiff awards in
                                                                         11
United States District Court




                                                                              the calculation of the regular rate of pay for purposes of paying overtime compensation for daily
                               For the Northern District of California




                                                                         12
                                                                              overtime, derivative class-wide claims for inaccurate wage statements and related California
                                                                         13
                                                                              Labor Code Private Attorney General Act penalties, and class-wide waiting time penalties. The
                                                                         14
                                                                              release is limited to the certified class claims. The parties have also requested class counsel fees
                                                                         15
                                                                              of $130,500 (30% of the settlement amount), litigation costs of $27,568.81, an estimated $14,962
                                                                         16
                                                                              to the class administrator, $5,000 to each named plaintiff (Taylor and Fields) for broader releases
                                                                         17
                                                                              of all claims against West Marine, a $500 incentive payment to Taylor (the class representative),
                                                                         18
                                                                              and a PAGA payment of $5,000 for California’s share of the civil penalties. Class counsel’s fees
                                                                         19
                                                                              will be addressed in a separate order. The parties’ proposal would leave $246,469.19 for the 686
                                                                         20
                                                                              remaining class members who have not opted out.
                                                                         21
                                                                                     The parties assert that participating class members
                                                                         22
                                                                              will be made whole, or even more than whole, by the proposed settlement. Defense expert
                                                                         23
                                                                              Stefan Boekeker and plaintiffs’ expert Evelyn Carlson concluded that of the 707 class members,
                                                                         24
                                                                              33% were underpaid by just one dollar or less, 55% were underpaid by five dollars or less, and
                                                                         25
                                                                              88% were underpaid by $50 or less. Despite this, each class member would receive at least $216
                                                                         26
                                                                              under the settlement agreement, could receive up to $1,111, and will receive substantially in
                                                                         27
                                                                              excess of the maximum potential
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                                                                                Case 3:13-cv-04916-WHA Document 161 Filed 05/21/15 Page 4 of 4



                                                                          1   overtime damage under any methodology for calculating the overtime rate (Harris Decl. ¶¶
                                                                          2   8–11).
                                                                          3            Stage in proceedings and risks: This action has been litigated for more than seventeen
                                                                          4   months. The proposed class settlement comes following a contested class certification period,
                                                                          5   the close of fact and expert discovery, the exchange of expert reports and damages figures, one
                                                                          6   mediation, and two settlement conferences. Plaintiffs may have a meritorious case, but the risks
                                                                          7   inherent in continued litigation are substantial. Even if plaintiffs were to take this case to trial
                                                                          8   and through appeal, any recovery would likely be significantly reduced by the fees and costs
                                                                          9   expended to obtain it.
                                                                         10            Reaction of class members: No objection was made. The time for filing objections to
                                                                         11   the proposed class settlement has long passed. The time for filing any opposition to plaintiffs’
United States District Court
                               For the Northern District of California




                                                                         12   motion for final approval of the proposed class settlement has passed as well. At the final
                                                                         13   approval hearing, an additional opportunity to make belated objections was provided. No
                                                                         14   objection was raised.
                                                                         15            In sum, having considered the terms of the proposed settlement, that the $435,000
                                                                         16   amount will more than make whole all class members as a result of any underpayment of wages,
                                                                         17   the risks and expenses of a jury trial, and the mature stage of this action, this order finds the
                                                                         18   proposed class settlement fair, reasonable, and adequate.
                                                                         19                                             CONCLUSION
                                                                         20            Final approval of the proposed class settlement is GRANTED. The settlement is approved
                                                                         21   and binding on all settlement class members. Within FIVE CALENDAR DAYS of this order, the
                                                                         22   parties shall file a final class list (with names and cities) setting forth the class members bound
                                                                         23   by and not bound by the class settlement. Administration of the settlement fund shall begin.
                                                                         24
                                                                         25            IT IS SO ORDERED.
                                                                         26
                                                                         27   Dated: May 21, 2015.
                                                                                                                                     WILLIAM ALSUP
                                                                         28                                                          UNITED STATES DISTRICT JUDGE

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